Case 3:24-cv-06917-AMO   Document 42-4   Filed 10/30/24   Page 1 of 26




                         EXHIBIT 4
        Case 3:24-cv-06917-AMO                Document 42-4   Filed 10/30/24   Page 2 of 26


Table of Contents

WPEngine, Inc.                                                                                       1
   WPEngine, Inc. | Private Company                                                                  1
   WPEngine, Inc. | Corporate Structure                                                              4
   WPEngine, Inc. | People Summary                                                                   6
   WPEngine, Inc. | Private Ownership                                                                21
   WPEngine, Inc. | Capitalization Table Summary                                                     22
   WPEngine, Inc. | Capitalization Table Details                                                     24




  Report generated 10/29/2024                                                      © 2024, Powered by S&P Global
                            Case 3:24-cv-06917-AMO                                 Document 42-4                      Filed 10/30/24                Page 3 of 26

WPEngine, Inc. | Private Company

 (MI Key: 5225379; SPCIQ Key: 139087350)


 Corporate Data

 Company Data

  Status                                                                       Operating

  Primary Industry (MI)                                                        Internet Services and Infrastructure

  Topic Tags                                                                   Cloud Data Services, Cloud Infrastructure, Cloud Hosting

  Categories¹                                                                  Blogging Platforms, Content, Enterprise Software, SaaS, Web Development,
                                                                               Web Hosting

  VAT ID                                                                       273155665

  Date of Incorporation                                                        07/12/2011

  SIC Code                                                                     7374

  NACE Code                                                                    63.11 - Data processing, hosting and related activities

  NAICS Code                                                                   518210 - Computing Infrastructure Providers, Data Processing, Web Hosting,
                                                                               and Related Services

  U.S. Number Of Employees 2023                                                815

  U.S. Number Of Employees 2022                                                848

  U.S. Latest Employee Growth %                                                (3.89)



 Company Description
 WPEngine, Inc. provides managed WordPress cloud hosting platform for websites and applications. The company offers atlas content modeler (ACM), a WordPress plugin to create custom post
 types and fields for headless WordPress sites. It offers products that includes Wordpress Hosting, to boost performance; WooCommerce, for performance hosting, proprietary caching; Agency
 and Client Management, to automate client billing and reporting; and Headless WordPress, to build, deploy and manage headless sites. It serves small businesses, enterprises, agencies, and
 companies in the United States and internationally. The company was founded in 2010 and is based in Austin, Texas. It has additional offices in San Francisco, California; San Antonio, Texas;
 Omaha, Omaha; Kraków, Poland; Brisbane, Australia; and London, United Kingdom.

                                                                                                                                                                              As of Date: 7/4/2022


 Contact
 Headquarters                                                                                      504 Lavaca Street Suite 1000 Austin, TX 78701 USA

 Phone                                                                                             (512) 273-3906

 Web Address                                                                                       wpengine.com

 TWITTER¹                                                                                          http://twitter.com/wpengine

 FACEBOOK¹                                                                                         http://www.facebook.com/wpengine

 LINKEDIN¹                                                                                         https://www.linkedin.com/company/wpengine




 Officers & Directors

  Chairwoman & CEO                                                                                 Heather J. Brunner

  Founder & Chief Innovation Officer                                                               Jason Cohen

  Chief Financial Officer                                                                          Samuel Monti

  Chief Operating Officer                                                                          Jason T. Teichman


 Industry Details (MI)

  Technology, Media & Telecommunications

           Information Technology

                   Software and Services

                            Application Software

                                    Application Hosting Services

                                            Application Service Providers (ASPs)

                            Internet Services and Infrastructure

                                    Internet Presence Providers (IPP)

                                            Web Hosting



                Report generated 10/29/2024
Licensed to isabel.mccullough@hoganlovells.com                                                                                                © 2024, Powered by S&P Global | Page 1 of 24
                             Case 3:24-cv-06917-AMO                                      Document 42-4                    Filed 10/30/24                 Page 4 of 26

WPEngine, Inc. | Private Company

 Latest Rounds of Funding




 Funding Overview

  Summary
  300.45 ($M)                                                                                             0.14 ($B)
  Total Funding                                                                                           Latest Available Post-Money Valuation

  300.45 ($M)* Raised in 6 Disclosed Rounds by 5 Investors.

  It has been 5 years and 4 months since the last funding round.

  Overview
   Announced Date                     Round Type                                       Round Number                       Size ($000)             Pre-Money ($M)             Post-Money ($M)
  7/10/2019                          Mature                                                           6                            9,574                         NA                          NA

  1/4/2018                           Mature                                                           5                         250,000                          NA                          NA

  3/25/2015                          Series C                                                         4                          23,000¹                         NA                         143

  1/14/2014                          Series B                                                         3                          15,000¹                         NA                          NA

  9/20/2012                          Series B                                                         2                           1,674¹                         NA                          NA

  11/15/2011                         Series A                                                         1                            1,200                         NA                          NA

  *This number reflects the estimated value of the total new money raised through private placement rounds.


 Transactions

  WPEngine, Inc. acquires NitroPack Ltd*                                                      Acquisition of Whole Company (incl.     Completed on 7/18/2024            NA
                                                                                              Majority Stake)

  WPEngine, Inc. - Mature (Age of Company > 7 Years)                                          Rounds of Funding                       Completed on 7/10/2019            9.57 ($M)

  WPEngine, Inc. acquires Fancy Chap, Inc.                                                    Acquisition of Whole Company (incl.     Completed on 6/25/2019            NA
                                                                                              Majority Stake)

  WPEngine, Inc. acquires Array Themes and Atomic Blocks                                      Acquisition of Asset or Branch          Completed on 10/25/2018           NA

  WPEngine, Inc. acquires StudioPress WordPress Solutions of Rainmaker Digital LLC            Acquisition of Asset or Branch          Completed on 6/27/2018            NA


 * Indicates that the deal directly or indirectly involved a private equity investor

 RiskGauge Score




                Report generated 10/29/2024
Licensed to isabel.mccullough@hoganlovells.com                                                                                                      © 2024, Powered by S&P Global | Page 2 of 24
                            Case 3:24-cv-06917-AMO                             Document 42-4                 Filed 10/30/24       Page 5 of 26

WPEngine, Inc. | Private Company




 Current/Pending Investors

  INVESTOR                        INITIAL INVESTMENT DATE        LAST INVESTMENT DATE      STAKE TYPE                   AGGREGATE AMOUNT LATEST ROUND
                                                                                                                            INVESTED($000)
  Silver Lake Technology          Jan-04-2018                    Jan-04-2018               Minority                                    250,000 Mature
  Management, L.L.C.

  Guidepost Growth Equity         Jan-14-2014                    Mar-25-2015               Unknown                                      38,000 Series C

  North Bridge Venture Partners   Jan-14-2014                    Mar-25-2015               Unknown                                           NA Series C

  Automattic Inc.                 Nov-15-2011                    Nov-15-2011               Minority                                          NA Series A

  Capital Factory                 NA                             NA                        Unknown                                           NA NA


 Latest Activity

 Key Developments

  WP Engine Names Samuel Monti as Chief Financial Officer                         CFO Change                                     9/6/2024

  WPEngine, Inc. acquired NitroPack from Eleven Ventures, DevriX and others.      M&A: Transaction Closing                       7/18/2024

  WPEngine, Inc. acquired NitroPack from Eleven Ventures, DevriX and others.      M&A: Transaction Closing                       7/18/2024



 1.
      Data supplemented from Crunchbase.



 Historical Equity Pricing Data supplied by Interactive Data Pricing and Reference Data LLC




                Report generated 10/29/2024
Licensed to isabel.mccullough@hoganlovells.com                                                                                © 2024, Powered by S&P Global | Page 3 of 24
                       Case 3:24-cv-06917-AMO                 Document 42-4             Filed 10/30/24           Page 6 of 26

WPEngine, Inc. | Corporate Structure

    (MI Key: 5225379; SPCIQ Key: 139087350)



    Relationship Type Options (Available in Filters):
    Majority Subsidiary – Parent owns 50% or more with an intent to derive operational or synergistic value from the company.
    Majority Investment - Parent either A) owns 50% or more with only an intent to derive financial value from the company, or B) owns less
    than 50% but has effective control of the company.
    Minority Investment - Parent owns less than 50% of the company and does not have effective control.
    Acquired/Merged - Refers to "historical" entities who have been merged or absorbed into another company for all purposes.
    Pending Acquisition - Parent will own majority share (50% or more) post the acquisition.


    View:        Direct Corporate Structure from Focus
                 Company
    Relationship Majority
    Type:
    Depth:       2
    Industries Financials,Real Estate,Energy and
    (MI):        Utilities,Materials,Health
                 Care,Industrials,Consumer,Technology,
                 Media & Telecommunications
    Geography: United States and Canada,Latin
                 America and Caribbean,Africa,Asia-
                 Pacific,Europe,Middle East
    Click on
    Redraw
    Tree to
    launch S&P
    Capital IQ
    Pro
    Corporate
    Structure
    page for the
    Focus
    Company
                                  REDRAW TREE


     CORPORATE STRUCTURE OF WPENGINE, INC.

      WPEngine, Inc. - TX, USA | Internet Services and Infrastructure (5225379)

          Fancy Chap, Inc. - NE, USA | Majority (Subsidiary) - 100.00% owned | Internet Services and Infrastructure (5276491)

              Local by Flywheel - CO, USA | Majority (Subsidiary) - 100.00% owned | Application Software (5320971)

          NitroPack - Bulgaria | Majority (Subsidiary) - 100.00% owned | Application Software (13442225)


    Results shown may not include all minority investments or investments when the ownership stake is undisclosed. When “Minority
    Investment” is selected for the Relationship Type, only minority relationships at the 1st and 2nd level below the focus company are shown
    – this prevents the tree from showing 100,000+ relationships for larger companies.

    'Corporate Structure Depth' indicates degree of separation between a child and the starting company. Please note, starting point varies
    depending upon view selected, i.e. either Focus company or Ultimate Parent.

    Entities italicized in the display below indicate subsidiaries with cross ownership holdings. These entities are either owned directly or
    indirectly by multiple entities within the larger corporate structure of the company in focus.

    The parent/subsidiary tree above may not represent the company’s complete organizational structure. The companies listed are only
    those with related news, financial and/or industry data within S&P Global Market Intelligence's products, or the parents of such companies.

    Rating results are driven on both Long Term and short term active rating data.



                Report generated 10/29/2024
Licensed to isabel.mccullough@hoganlovells.com                                                               © 2024, Powered by S&P Global | Page 4 of 24
                       Case 3:24-cv-06917-AMO                  Document 42-4               Filed 10/30/24           Page 7 of 26

WPEngine, Inc. | Corporate Structure
    Shareholding increase from Minority to Majority category =
    Shareholding increase within existing Minority/Majority category =
    New Company Purchased =
    Shareholding decrease within existing Minority/Majority category =
    Shareholding decrease from Majority to Minority category =

    The Indicators are reflective of a 1 year period and does not account of internal reorganizations.



     S&P Credit Ratings and Research provided by



    Copyright © 2024, Fitch Ratings, Inc., Fitch Ratings, Ltd. and its subsidiaries (“Fitch”). Reproduction of the Fitch credit ratings in any form is
    prohibited except with the prior written permission of Fitch. Fitch does not guarantee the accuracy, completeness, timeliness or availability
    of any information, including ratings, and is not responsible for any errors or omissions (negligent or otherwise), regardless of the cause,
    or for the results obtained from the use of ratings. FITCH GIVES NO EXPRESS OR IMPLIED WARRANTIES, INCLUDING, BUT NOT
    LIMITED TO, ANY WARRANTIES OF MERCHANTABILITY OR FITNESS FOR A PARTICULAR PURPOSE OR USE. Fitch shall not be liable
    for any direct, indirect, incidental, exemplary, compensatory, punitive, special or consequential damages, costs, expenses, legal fees, or
    losses (including lost income or profits and opportunity costs or losses caused by negligence) in connection with any use of the Fitch
    credit ratings. Fitch's ratings are statements of opinions and are not statements of fact or recommendations to purchase, hold or sell
    securities. Fitch credit ratings do not address the market value of securities or the suitability of securities for investment purposes, and
    should not be relied on as investment advice.

    * In accordance with S&P Global Market Intelligence's contract with Fitch Ratings, only Corporate Sector ratings will be displayed for client
    use. Corporate Sector Includes Financial Institutions and Sovereigns.




                Report generated 10/29/2024
Licensed to isabel.mccullough@hoganlovells.com                                                                  © 2024, Powered by S&P Global | Page 5 of 24
                                                 Case 3:24-cv-06917-AMO        Document 42-4   Filed 10/30/24   Page 8 of 26



WPEngine, Inc. | People Summary
   (MI KEY: 5225379; SPCIQ KEY: 139087350)


   Keyword
   Limit By: All Professionals, All Board Members
   Status: Current Professionals, Current Board Members
   Gender: All

   Use the Keyword search to narrow results by Name, Title, Role, Status or Bio details.



    Gender Representation
    Top Executives


                                                                                                     PERSONS (ACTUAL)                              PERSONS (%)

      Female                                                                                                       4                                        30.80

      Male                                                                                                         9                                        69.20




    Board of Directors


                                                                                                     PERSONS (ACTUAL)                              PERSONS (%)

      Female                                                                                                       1                                        12.50




               Report generated 10/29/2024
Licensed to isabel.mccullough@hoganlovells.com                                                                                 © 2024, Powered by S&P Global | Page 6 of 24
                                                 Case 3:24-cv-06917-AMO   Document 42-4   Filed 10/30/24   Page 9 of 26



WPEngine, Inc. | People Summary

                                                                                                PERSONS (ACTUAL)                              PERSONS (%)

      Male                                                                                                    7                                        87.50




    Professionals


                                                                                                PERSONS (ACTUAL)                              PERSONS (%)

      Male                                                                                                    1                                      100.00




               Report generated 10/29/2024
Licensed to isabel.mccullough@hoganlovells.com                                                                            © 2024, Powered by S&P Global | Page 7 of 24
                                                 Case 3:24-cv-06917-AMO           Document 42-4           Filed 10/30/24         Page 10 of 26



WPEngine, Inc. | People Summary

    Top Executives
    NAME           TITLE                  STATUS     AGE GENDER BIOGRAPHY

     Heather J. Chairwoman &              Current    55 Female Ms. Heather J. Brunner has been the Chief Executive Officer and Chairwoman of WP Engine, Inc. since October
     Brunner    CEO                                            7, 2013. Ms. Brunner focuses on business strategy, global growth and customer experience and has built on
                                                               firm's product innovation and client success to cement its market leadership as WordPress continues to emerge
                                                               as a dominant force in content management for all organizations. She was a Partner, Start-Up Advisor and Angel
                                                               Investor at Capital Factory. Ms. Brunner has built a career creating business value for both privately-funded new
                                                               ventures and Fortune 500 companies and driving growth and scaling business operations for SaaS companies in
                                                               large and expanding markets. She is a seasoned leader with experience in operations and client services. Ms.
                                                               Brunner has built a career delivering technology to create exceptional business value for privately funded new
                                                               ventures and Fortune 500 companies alike. Ms. Brunner has several years of executive management and client
                                                               service experience. She served as Chief Operating Officer at WP Engine from May 2013 to October 2013. Ms.
                                                               Brunner served as an Advisor from May 4, 2013 to November 3, 2013 and Chief Operating Officer at
                                                               Bazaarvoice, Inc. from June 2009 to May 3, 2013 where she oversaw all stages of early, rapid global growth,
                                                               through to IPO and two acquisition integrations. Ms. Brunner oversaw firm's industry-leading services organization
                                                               as it continues to innovate social commerce strategies and best practices to help companies gain higher ROI
                                                               from social commerce initiatives. With deep expertise and proven results in operations, P&L management, client
                                                               services and inspirational leadership, she has built teams responsible for delivering hundreds of millions in
                                                               business value. She served as a Senior Vice President of Worldwide Client Services at Bazaarvoice, Inc., from
                                                               August 2008 to June 2009. Prior to joining Bazaarvoice, Ms. Brunner served as the Chief Executive Officer and
                                                               President at Nuvo. Ms. Brunner was the Chief Operations Officer at B-Side Entertainment, where she led
                                                               day-to-day business operations, technology delivery, finance and G&A. She has held various other executive
                                                               management roles at leading technology companies, including Coremetrics, where she led worldwide client
                                                               services. Ms. Brunner served as the Vice President of Client Services at Coremetrics, Inc., since November 2005.
                                                               She was responsible for firm's industry leading client service organization which includes the account
                                                               management, implementation, client support and strategic services teams. Ms. Brunner served as a Vice
                                                               President of client delivery and operations at Trilogy. She served as an Area Vice President at Concero where
                                                               she lead over 130 professionals driving business development and client service delivery to Global 2000
                                                               companies. She also served at Accenture. She served as a Practice Director at Oracle, where she led the
                                                               grounds-up development of the Central Texas enterprise sales and consulting practice. She has also held senior
                                                               roles at Andersen Consulting. Ms. Brunner has been an Independent Trust Manager of Camden Property Trust
                                                               since January 13, 2017. She serves on the Board of Directors of Capital Area United Way. Ms. Brunner also
                                                               serves as a Board Director for the Entrepreneurs Foundation and Bazaarvoice Foundation. Ms. Brunner was
                                                               named her as 2010 Profiles in Power "Woman of Influence." by The Austin Business Journal. She was a
                                                               returning judge for the 2014 E&Y Entrepreneur of the Year award for Central Texas. Ms. Brunner holds a
                                                               Bachelor's Degree in International Economics from Trinity University.




               Report generated 10/29/2024
Licensed to isabel.mccullough@hoganlovells.com                                                                                                     © 2024, Powered by S&P Global | Page 8 of 24
                                                 Case 3:24-cv-06917-AMO          Document 42-4           Filed 10/30/24         Page 11 of 26



WPEngine, Inc. | People Summary

    NAME           TITLE                  STATUS     AGE GENDER BIOGRAPHY

     Jason          Founder & Chief Current          NA Male    Mr. Jason Cohen served as Partner of Capital Factory till October 2023. Mr. Cohen served as a Director at
     Cohen          Innovation                                  Capital Factory. He Founded WPEngine, Inc. and served as its Chief Technology Officer until August 2022. He
                    Officer                                     serves as Chief Innovation Officer at WPEngine, Inc. since August 2022. Mr. Cohen served as the Chief
                                                                Executive Officer of WP Engine, LLC until October 7, 2013. Mr. Cohen is the Founder of Smart Bear. Prior to this,
                                                                he founded Sheer Genius Software and also co-founded ITWatchDogs. In 2006, he wrote Best Kept Secrets of
                                                                Peer Code Review. He also speaks at industry tradeshows and conferences such as Joel Spolsky's Business of
                                                                Software.

     Samuel         Chief Financial       Current    NA Male    Mr. Samuel Monti, also known as Sam, serves as Chief Executive Officer of WPEngine, Inc. since September
     Monti          Officer                                     2024. He is Chief Executive Officer of CrownPeak Technology, Inc. from December 2023. He served as Chief
                                                                Financial Officer at Epicor Software Corporation from January 2021 to 2023. He came to Epicor Software after
                                                                nearly three years as CFO of Khoros LLC, an Austin-based company making customer engagement software. He
                                                                served as Chief Financial Officer and Chief Operating Officer at Mitratech Holdings, Inc. and LT Online
                                                                Corporation and managed all financial, human resource and general counsel functions for LT Online's global
                                                                operations. Mr. Monti has experience in software, services, manufacturing, operations, contracts & negotiations,
                                                                international finance, corporate finance, mergers & acquisitions, sales & marketing, audit and general accounting.
                                                                He was Director of finance for Rockwell Automation's software business. He holds a Six Sigma Black Belt
                                                                certification and is a Certified Public Accountant licensed in the state of Ohio. He has a BS in accounting from
                                                                Miami University in Ohio and an MBA in Finance from Case Western University.

     Jason T.       Chief Operating       Current    49 Male    Mr. Jason T. Teichman serves as Chief Operating Officer of WPEngine, Inc. since June 2020. He had been Chief
     Teichman       Officer                                     Executive Officer at Pond5 Inc. since August 10, 2016. In this role, Mr. Teichman helped Pond5 Inc. continue to
                                                                accelerate its growth by scaling its creative marketplace, leveraging its unique relationship with the artist
                                                                community, and improving its investments in emerging media, such as drone footage and 360-degree video. He
                                                                has executive experience driving double digit growth across early stage and Fortune 100 companies. Mr.
                                                                Teichman served as the Chief Operating Officer of Web.com Group, Inc. since September 30, 2013 until July 5,
                                                                2016 as its Executive Vice President since October 2011 until July 5, 2016 and its Chief Marketing Officer since
                                                                August 2010 until September 2013. He served as Chief Marketing Officer at Register.com, Inc. Mr. Teichman
                                                                served as Senior Vice President of Marketing and Products at Register.com., where he was responsible for
                                                                revitalizing growth in their Retail business, paving the way for the sale to Web.com. Mr. Teichman served as a
                                                                General Manager for Online at Affinnova. He served as Vice President of Marketing within the Consumer Group
                                                                of American Express for seven years and served as Vice President for its Card Services Division. He had been
                                                                Board Director at Pond5 Inc. since August 10, 2016. Mr. Teichman has a BA in Political Science from the
                                                                University of Michigan, Ann Arbor.

     Ramadass Senior VP &                 Current    NA Male    Mr. Ramadass Prabhakar serves as Chief Technology Officer at WPEngine, Inc. since August 2022 and serves as
     Prabhakar CTO                                              its Senior Vice President since 2022. He served as Senior Vice President of Global Engineering at WPEngine,
                                                                Inc. since February 2020 until August 2022. He is a technology veteran who brings experience at companies like



               Report generated 10/29/2024
Licensed to isabel.mccullough@hoganlovells.com                                                                                                     © 2024, Powered by S&P Global | Page 9 of 24
                                                 Case 3:24-cv-06917-AMO            Document 42-4             Filed 10/30/24         Page 12 of 26



WPEngine, Inc. | People Summary

    NAME           TITLE                  STATUS     AGE GENDER BIOGRAPHY

                                                                  Adobe, Magento and Bazaarvoice leading multiple, cross-functional and geographically-dispersed teams. He
                                                                  oversees WP Engine’s global engineering team with a mission to build upon WP Engine’s enterprise-grade
                                                                  architecture to deliver unparalleled speed, scalability, security and best-of-breed technology integrations trusted by
                                                                  more than 100,000 agencies and brands. He holds a Master of Science degree from Vanderbilt University and an
                                                                  MBA from Duke University.

     Chad           General               Current    NA Male      Mr. Chad Costello serves as General Counsel and Corporate Secretary of WPEngine, Inc. Chad leads all aspects
     Costello       Counsel &                                     of WP Engine’s global legal affairs. An accomplished senior legal executive with experience working with tech
                    Corporate                                     companies ranging from startups to global companies, Chad has held a number of senior legal counsel roles at
                    Secretary                                     companies including Spredfast, Mass Relevance, and Dachis Group. He created and built legal teams at four
                                                                  companies and his specialties include contracts and negotiation, mergers and acquisition, financing, corporate
                                                                  affairs, data privacy, employment law, real estate, and licensing. Chad holds a JD from The University of Texas
                                                                  School of Law, a MBA from Southern Methodist University’s Cox School of Business and a bachelor of arts in
                                                                  Economics from Hillsdale College.

     Eric Jones Vice President  Current              NA Male      Mr. Eric Jones serves as the Vice President of Global Brand and Communications at WPEngine, Inc. Mr. Jones
                of Global Brand                                   was the Marketing Partner at North Bridge Growth Equity and North Bridge Venture Partners. Previously, he was
                and                                               Group Head of the New York Technology Practice at Edelman.
                Communications

     Justin         Senior Vice           Current    NA Male      Mr. Justin Mongroo is Senior Vice President of North America Brand Sales of WPEngine, Inc. from December
     Mongroo        President of                                  2023. He has experience leading sales teams across industry-defining technology companies, including
                    North America                                 Salesforce, Conga, Intuit and most recently Slack, where he served as Vice President of Commercial Sales.
                    Brand Sales                                   Justin has gained experience working with large and small customers in multiple industries. While at Slack, he got
                                                                  a ???front row seat??? at the intersection of self-serve, product-led and sales-led growth, providing a unique
                                                                  perspective on possibilities for go-to-market strategies working with companies on Slack???s journey from their
                                                                  first 100M to beyond 1B. As SVP of Sales at WP Engine, Mongroo will lead a team of over 100 sales
                                                                  professionals who consult and advise on innovative solutions to build, power and manage different types of
                                                                  WordPress experiences for large brands and small and medium-sized businesses (SMBs).

     Annette        Chief People          Current    NA Female Ms. Annette Alexander has been Chief People Officer of WPEngine, Inc. since April 2017. Ms. Alexander has
     Alexander      Officer                                    spent many years in Human Resource. She served as Vice President of Human Resources at the Coupon
                                                               Website Operator. She has also worked for PayPal, Danaher Corp., Barclays, WP Engine and Dell. She holds a
                                                               bachelor’s degree in Psychology from the University of Houston and a master’s degree in Human Resources from
                                                               Purdue University.

     Rob        Senior Vice               Current    NA Male      Mr. Rob Charlebois serves as Chief Marketing Officer at Lastpass since May 2022. He serves as Senior Vice
     Charlebois President of                                      President of Digital at WPEngine, Inc. since February 2021. He has been Executive Vice President of Global
                Digital                                           eCommerce and Digital Marketing at Mindjet LLC since April 11, 2017. Mr. Charlebois leads global online sales



                Report generated 10/29/2024
Licensed to isabel.mccullough@hoganlovells.com                                                                                                          © 2024, Powered by S&P Global | Page 10 of 24
                                                 Case 3:24-cv-06917-AMO             Document 42-4           Filed 10/30/24          Page 13 of 26



WPEngine, Inc. | People Summary

    NAME           TITLE                  STATUS      AGE GENDER BIOGRAPHY

                                                                   and marketing strategies across all its product lines, including Corel, WinZip, Roxio, Pinnacle, ReviverSoft and
                                                                   MindManager. He had been Executive Vice President of Global eCommerce and Digital Marketing at Corel
                                                                   Corporation since April 11, 2017 until 2021. Mr. Charlebois served as Vice President of Global eCommerce at
                                                                   Corel Corporation until April 11, 2017. Mr. Charlebois is responsible for Corel Corporation's global online sales
                                                                   and marketing strategies across all its product lines, including Corel, WinZip, Roxio, Pinnacle and ReviverSoft. He
                                                                   served as Senior Director of eCommerce for WinZip and Director of eCommerce for Corel. Prior to joining Corel,
                                                                   he has held various strategic marketing positions at companies including Buystream, N-able Technologies and
                                                                   Nexinnovations. He holds a Bachelor of Political Science and Government from the University of Ottawa and a
                                                                   Diploma in Architecture from Algonquin College.

     Average                                     52



    Board of Directors
                                                                        BEGIN END
    NAME                 ROLE                         STATUS AGE GENDER YEAR YEAR TENURE BIOGRAPHY

     Heather J.           Chairman of the Board       Current   55 Female 2013       NA      11y Ms. Heather J. Brunner has been the Chief Executive Officer and Chairwoman of
     Brunner                                                                                     WP Engine, Inc. since October 7, 2013. Ms. Brunner focuses on business
                                                                                                 strategy, global growth and customer experience and has built on firm's product
                                                                                                 innovation and client success to cement its market leadership as WordPress
                                                                                                 continues to emerge as a dominant force in content management for all
                                                                                                 organizations. She was a Partner, Start-Up Advisor and Angel Investor at Capital
                                                                                                 Factory. Ms. Brunner has built a career creating business value for both privately-
                                                                                                 funded new ventures and Fortune 500 companies and driving growth and scaling
                                                                                                 business operations for SaaS companies in large and expanding markets. She is
                                                                                                 a seasoned leader with experience in operations and client services. Ms. Brunner
                                                                                                 has built a career delivering technology to create exceptional business value for
                                                                                                 privately funded new ventures and Fortune 500 companies alike. Ms. Brunner has
                                                                                                 several years of executive management and client service experience. She
                                                                                                 served as Chief Operating Officer at WP Engine from May 2013 to October 2013.
                                                                                                 Ms. Brunner served as an Advisor from May 4, 2013 to November 3, 2013 and
                                                                                                 Chief Operating Officer at Bazaarvoice, Inc. from June 2009 to May 3, 2013
                                                                                                 where she oversaw all stages of early, rapid global growth, through to IPO and
                                                                                                 two acquisition integrations. Ms. Brunner oversaw firm's industry-leading services
                                                                                                 organization as it continues to innovate social commerce strategies and best
                                                                                                 practices to help companies gain higher ROI from social commerce initiatives.



               Report generated 10/29/2024
Licensed to isabel.mccullough@hoganlovells.com                                                                                                         © 2024, Powered by S&P Global | Page 11 of 24
                                                 Case 3:24-cv-06917-AMO     Document 42-4        Filed 10/30/24         Page 14 of 26



WPEngine, Inc. | People Summary

                                                                      BEGIN END
    NAME                 ROLE                       STATUS AGE GENDER YEAR YEAR TENURE BIOGRAPHY

                                                                                       With deep expertise and proven results in operations, P&L management, client
                                                                                       services and inspirational leadership, she has built teams responsible for
                                                                                       delivering hundreds of millions in business value. She served as a Senior Vice
                                                                                       President of Worldwide Client Services at Bazaarvoice, Inc., from August 2008 to
                                                                                       June 2009. Prior to joining Bazaarvoice, Ms. Brunner served as the Chief
                                                                                       Executive Officer and President at Nuvo. Ms. Brunner was the Chief Operations
                                                                                       Officer at B-Side Entertainment, where she led day-to-day business operations,
                                                                                       technology delivery, finance and G&A. She has held various other executive
                                                                                       management roles at leading technology companies, including Coremetrics,
                                                                                       where she led worldwide client services. Ms. Brunner served as the Vice
                                                                                       President of Client Services at Coremetrics, Inc., since November 2005. She was
                                                                                       responsible for firm's industry leading client service organization which includes
                                                                                       the account management, implementation, client support and strategic services
                                                                                       teams. Ms. Brunner served as a Vice President of client delivery and operations
                                                                                       at Trilogy. She served as an Area Vice President at Concero where she lead over
                                                                                       130 professionals driving business development and client service delivery to
                                                                                       Global 2000 companies. She also served at Accenture. She served as a Practice
                                                                                       Director at Oracle, where she led the grounds-up development of the Central
                                                                                       Texas enterprise sales and consulting practice. She has also held senior roles at
                                                                                       Andersen Consulting. Ms. Brunner has been an Independent Trust Manager of
                                                                                       Camden Property Trust since January 13, 2017. She serves on the Board of
                                                                                       Directors of Capital Area United Way. Ms. Brunner also serves as a Board
                                                                                       Director for the Entrepreneurs Foundation and Bazaarvoice Foundation. Ms.
                                                                                       Brunner was named her as 2010 Profiles in Power "Woman of Influence." by The
                                                                                       Austin Business Journal. She was a returning judge for the 2014 E&Y
                                                                                       Entrepreneur of the Year award for Central Texas. Ms. Brunner holds a Bachelor's
                                                                                       Degree in International Economics from Trinity University.

     Matthew C.           Board Director/Trustee     Current NA Male   NA    NA    NA Mr. Matthew C. Blodgett, also known as Matt, served as a Managing Director at
     Blodgett                                                                         Vector Capital till July 2020. Mr. Blodgett joined Vector Capital in 2014. He serves
                                                                                      as a Director of Prodport Inc. since March 2022. He served as a Partner and
                                                                                      General Partner at North Bridge Growth Equity since August 2, 2013. At North
                                                                                      Bridge, he sourced and led growth equity investments in high technology
                                                                                      companies across multiple sectors, including advanced manufacturing,
                                                                                      applications software, internet infrastructure, and digital media. Previously, Mr.
                                                                                      Blodgett served as a Principal at North Bridge Growth Equity. He joined North
                                                                                      Bridge Growth Equity in 2007. Previously, Mr. Blodgett served as a Vice President



               Report generated 10/29/2024
Licensed to isabel.mccullough@hoganlovells.com                                                                                             © 2024, Powered by S&P Global | Page 12 of 24
                                                 Case 3:24-cv-06917-AMO         Document 42-4       Filed 10/30/24        Page 15 of 26



WPEngine, Inc. | People Summary

                                                                      BEGIN END
    NAME                 ROLE                       STATUS AGE GENDER YEAR YEAR TENURE BIOGRAPHY

                                                                                          at Alta Communications where he invested in growth equity and completed
                                                                                          management-led buyouts in companies in the digital media and information
                                                                                          technology industries. Prior to that, Mr. Blodgett served as an Analyst and
                                                                                          investment banker at The Bear Stearns Companies, LLC, advising domestic and
                                                                                          international media and technology corporate clients on complex mergers, joint
                                                                                          ventures, equity offerings and debt financings. He serves as Member of the
                                                                                          Supervisory Board of emarsys interactive services GmbH. Mr. Blodgett serves as
                                                                                          a Director of WP Engine, LLC. He has been a Director of CloudSense Ltd., since
                                                                                          November 6, 2017, Kela Group, and Meltwater. He served as a Director of Proto
                                                                                          Labs, Inc. from February 27, 2013 to May 20, 2014. Previously, he served as a
                                                                                          Director of iMakeNews, Inc. Mr. Blodgett has spent many years working with high
                                                                                          growth technology companies as an investor and advisor. Mr. Blodgett works
                                                                                          closely with founders and entrepreneurs building rapidly growing technology and
                                                                                          technology-enabled companies and has a highly collaborative approach to his
                                                                                          investment partnerships. As an active investor and board member, he supports
                                                                                          entrepreneurs in their efforts building market leading growth companies. He led
                                                                                          growth equity investments across industries including software, internet
                                                                                          infrastructure, digital and mobile media, logistics and advanced manufacturing. Mr.
                                                                                          Blodgett developed investment partnerships with entrepreneurs and founders of
                                                                                          rapidly growing technology and technology-enabled companies. He has several
                                                                                          years of experience working as an active investor and advisor to high growth
                                                                                          technology companies across North America and Europe, both in the private and
                                                                                          public markets. He brings a highly collaborative approach to the investment
                                                                                          partnerships he cultivates with founders, entrepreneurs, management teams, and
                                                                                          technologists. His areas of interest include technology-enabled business services,
                                                                                          digital manufacturing, digital media and advertising, e-commerce, logistics and
                                                                                          software. Mr. Blodgett holds a B.A. in Economics and Political Science from Yale
                                                                                          University in 2000.

     Richard L.           Board Director/Trustee     Current   81 Male   2015   NA    8y, Mr. Richard L. Crandall, also known as Rick, has been Managing Partner of
     "Rick" Crandall                                                                 11m Aspen Venture LLC since 2001. Mr. Crandall serves as the Software and Services
                                                                                          Advisor/Technology Advisor to U.S. Chamber of Commerce and assists its efforts
                                                                                          in areas of legal reform and advocacy in Federal and State government actions
                                                                                          that affect the technology industries in the United States. He is a Co-Founder of
                                                                                          Aspen Partners, LLC and has been its Managing Partner since 2001. He has
                                                                                          been the Executive Chairman of the Board of Pelstar, LLC since 2007. He is a
                                                                                          Founding Partner and Founding Managing Director at Arbor Partners, LLC and



               Report generated 10/29/2024
Licensed to isabel.mccullough@hoganlovells.com                                                                                                © 2024, Powered by S&P Global | Page 13 of 24
                                                 Case 3:24-cv-06917-AMO     Document 42-4       Filed 10/30/24         Page 16 of 26



WPEngine, Inc. | People Summary

                                                                      BEGIN END
    NAME                 ROLE                       STATUS AGE GENDER YEAR YEAR TENURE BIOGRAPHY

                                                                                       Arbor Venture Partners II, L.P. Mr. Crandall joined Arbor Partners in November
                                                                                       1997. Mr. Crandall’s breadth of experience in leading software and technology
                                                                                       companies, including a technology venture capital firm, as well as his background
                                                                                       serving on various boards of Directors, provides the Board with valuable
                                                                                       corporate governance, oversight and industry experience. He contributes to Arbor
                                                                                       Partners with his background in computer technology ranging from startups to
                                                                                       Board governance of large public technology companies, as well as his expertise
                                                                                       in private equity and venture capital investing. Mr. Crandall’s long and varied
                                                                                       career has created a wealth of experience and contacts that have contributed to
                                                                                       successful strategies, execution and Partnering by Arbor Partners' portfolio
                                                                                       companies. From 1995 to 2003, Mr. Crandall helped create Giga Information
                                                                                       Group, Inc. and served as its Chairman from 2002 to 2003, Consultant from July
                                                                                       1998 to June 30, 2000 and Special Advisor from 1995 to 2003. In 1966, he
                                                                                       founded Comshare, Inc. in 1966 and served as its President and Chief Executive
                                                                                       Officer from 1970 to 1994 and Chairman from April 1994 to March 1997. During
                                                                                       his tenure at Comshare, he led it through several highly publicized transitions in
                                                                                       response to the rapid market changes characteristic of the computer industry. In
                                                                                       1994, he left his position at Comshare and founded the Enterprise Software
                                                                                       Roundtable in 1994. He was a Managing Partner of Alpine Capital Partners,
                                                                                       L.L.C. At Novell, he served as Chairman and oversaw the sale of the company to
                                                                                       a trio of private equity firms and simultaneously much of its patent library to a
                                                                                       consortium led by Microsoft, Apple Computer, Oracle and EMC. Mr. Crandall
                                                                                       served as a Senior Advisor at Bryant Park Capital, Inc. since 2003. He served as
                                                                                       a Senior Advisor at Bryant Park Capital LLC. He has been Independent Chairman
                                                                                       of Donnelley Financial Solutions, Inc. since October 01, 2016. He joined the
                                                                                       Donnelley Financial Solutions, Inc. on October 01, 2016. He has been the
                                                                                       Chairman of the Enterprise Software Roundtable since 1995 and has been its
                                                                                       Chief Executive Officer since 1994. Mr. Crandall served as the Chairman of
                                                                                       SolidSpeed Inc. He served as the Non-Executive Chairman of Novell, Inc. from
                                                                                       May 13, 2008 to April 27, 2011. He was Chairman of the ITAA Foundation. He
                                                                                       serves as a Director of Tacit Knowledge Systems, Sigaba and BISNet, Inc. He
                                                                                       has been a Director of RRD since 2012. He serves as a Director of ACTV8, INC.
                                                                                       He has been an Independent Director at WPEngine, Inc. since November 2015.
                                                                                       He serves on the Boards of Directors of several other private companies including
                                                                                       Illinois Energy Partners. He serves as Director and Member of Advisory Board at
                                                                                       ChannelNet. Mr. Crandall also serves on the Executive Advisory Board of Beacon




               Report generated 10/29/2024
Licensed to isabel.mccullough@hoganlovells.com                                                                                            © 2024, Powered by S&P Global | Page 14 of 24
                                                 Case 3:24-cv-06917-AMO         Document 42-4       Filed 10/30/24        Page 17 of 26



WPEngine, Inc. | People Summary

                                                                      BEGIN END
    NAME                 ROLE                       STATUS AGE GENDER YEAR YEAR TENURE BIOGRAPHY

                                                                                          IT. He served as a Director of Giga Information Group, Inc. since August 1995.
                                                                                          He served as Independent Director of R.R. Donnelley & Sons Company from
                                                                                          2012 to September 30, 2016. He served as a Director at Platinum Energy
                                                                                          Solutions, Inc. from 2012 to February 19, 2013. He served as a Director at
                                                                                          Comshare, Incorporated since 1968. He serves on the Advisory Board for the
                                                                                          Wharton Executive Education Program, Boards That Lead governance initiative.
                                                                                          He served as a Director of Tacit Software, Inc. He served as a Director at Giga
                                                                                          from August 1995 to 2003. He served as a Director at Novell, Inc. from June 2,
                                                                                          2003 to April 27, 2011. He served as a Director of iTRACS Corporation, Inc.,
                                                                                          Computer Task Group Inc. and Secure Data In Motion, Inc. Mr. Crandall was an
                                                                                          Independent Director of Diebold Nixdorf, Incorporated since 1996 until April 25,
                                                                                          2019. He is a cybersecurity expert and serves on the Board of the National
                                                                                          Cybersecurity Center (Colorado Springs) (the NCC), a position he has held since
                                                                                          2016. He served as an Independent Trustee at Guggenheim Enhanced Equity
                                                                                          Strategy Fund from 2004 to July 2010. He serves on the National Advisory Board
                                                                                          of the University of Michigan College of Engineering and Computer Science. Mr.
                                                                                          Crandall was a Founding Member of the Board of the ITAA Foundation and
                                                                                          served on its Board. Among his many other industry honors is the ICP Business
                                                                                          Software Review listing as “One of the five Leading Pioneers of the Software
                                                                                          Services Industry” in its commemorative issue celebrating the 25th anniversary of
                                                                                          the software industry. Mr. Crandall received an M.S. in Industrial Engineering in
                                                                                          1966, holds a B.S. in Electrical Engineering and a B.S. in Mathematics, all from
                                                                                          the University of Michigan.

     Mariano Dima         Board Director/Trustee     Current   55 Male   2015   NA    8y, Mr. Mariano Dima has been President of Soldo Limited since November 2020 and
                                                                                     11m also serves as its Director. He serves as Strategic Advisor at Farview Equity
                                                                                          Partners Limited. He holds expertise in Marketing and product. Mr. Dima served
                                                                                          as Global Chief Marketing Officer of HomeAway, Inc. since September 2014. Mr.
                                                                                          Dima oversaw all global marketing, corporate communications and brand
                                                                                          initiatives and teams for HomeAway. He served as an Executive Vice President of
                                                                                          Marketing & Payment Solutions at Visa Europe Limited since December 2006 and
                                                                                          served as its Chief Marketing Officer. He has many years of marketing, product
                                                                                          and business development experience across leading companies and industries,
                                                                                          including PepsiCo, Inc., Vodafone, Levi Strauss & Co. and Visa Europe Ltd. He
                                                                                          served as chief marketing officer of Visa Europe, he oversaw strategic marketing,
                                                                                          brand communications, advertising, sponsorships, insights and analytics. Dima
                                                                                          begins working at HomeAway in September. Mr. Dima served as an Executive



               Report generated 10/29/2024
Licensed to isabel.mccullough@hoganlovells.com                                                                                               © 2024, Powered by S&P Global | Page 15 of 24
                                                 Case 3:24-cv-06917-AMO       Document 42-4       Filed 10/30/24         Page 18 of 26



WPEngine, Inc. | People Summary

                                                                      BEGIN END
    NAME                 ROLE                       STATUS AGE GENDER YEAR YEAR TENURE BIOGRAPHY

                                                                                        Vice President of Marketing and Product Solutions at VISA Europe Services, Inc.,
                                                                                        since December 2006. Mr. Dima is tasked with boosting customer loyalty as new
                                                                                        products including contactless cards are launched. He served as an European
                                                                                        Field Marketing Director of Levi Strauss & Co Europe Sca. He served with
                                                                                        PepsiCo. He served as Head of Consumer Segments Strategy Worldwide for
                                                                                        Vodafone and Head of International Marketing & Business Development of
                                                                                        Pentland Group. He has been an Independent Director at WPEngine, Inc. since
                                                                                        November 2015. He studied Industrial Engineer and Engineer from University of
                                                                                        Buenos Aires.

     Mark Gillett         Board Director/Trustee     Current   49 Male   NA   NA    NA Mr. Mark Gillett serves as the Managing Director and Head of Value Creation at
                                                                                       Silver Lake Technology Management, L.L.C. He is Director at Qualtrics
                                                                                       International Inc. since June 28, 2023. Mr. Gillett re-joined Silver Lake in 2013
                                                                                       after previously serving it from 2009-2011. Mr. Wittlinger serves as a member of
                                                                                       the Board of Directors of WPEngine, Inc. Mr. Gillett led Value Creation for Silver
                                                                                       Lake in Europe and worked directly with the Chief Executive Officers of Silver
                                                                                       Lake’s portfolio companies to improve operating performance. Mr. Gillett served
                                                                                       as Corporate Vice President for Skype and Lync at Microsoft Corp. He served as
                                                                                       the Corporate Vice President of Microsoft and was responsible for Skype Product
                                                                                       Engineering and Operations. He served as the Chief Development and
                                                                                       Operations Officer of Skype Global S.à r.l. since March 2011. Mr. Gillett served as
                                                                                       Chief Development & Operations Officer and Corporate Vice President of Product
                                                                                       Engineering & Operations at Skype Limited. He began his tenure at Microsoft
                                                                                       Corp. in March 2011 and worked with Skype as Chief Transformation Officer and
                                                                                       Interim Chief Development Officer. He served as a European Operating Partner of
                                                                                       Silver Lake Partners. He joined Skype in since 2009. He joined Silver Lake from
                                                                                       Alvarez & Marsal, where he served for four years and served as Managing
                                                                                       Director and Partner, where he was responsible for leading Technology, Telecoms
                                                                                       and Business Services engagements across Europe and growing its private
                                                                                       equity performance improvement services in Europe. At A&M, he also led
                                                                                       engagements with several leading private equity firms and also specialized in
                                                                                       restructuring and operational diligence, performance improvement and turnaround
                                                                                       management of online, consumer and enterprise software and device businesses.
                                                                                       While at A&M, he served in interim leadership positions, advisory and operating
                                                                                       roles including; Lehman Brothers, ADT/Tyco, Navigon AG and iSOFT plc. He
                                                                                       started his technology career in software engineering and product management
                                                                                       for regulated medical devices, networking equipment and software. He serves as



               Report generated 10/29/2024
Licensed to isabel.mccullough@hoganlovells.com                                                                                             © 2024, Powered by S&P Global | Page 16 of 24
                                                 Case 3:24-cv-06917-AMO       Document 42-4       Filed 10/30/24        Page 19 of 26



WPEngine, Inc. | People Summary

                                                                      BEGIN END
    NAME                 ROLE                       STATUS AGE GENDER YEAR YEAR TENURE BIOGRAPHY

                                                                                        a Director of Relativity ODA LLC (Also known as kCura Corporation). He served
                                                                                        as a Director of Silver Lake. He served as a Non-Executive Director of European
                                                                                        Directories S.A. Mr. Gillett served as a Director of Quorum Business Solutions,
                                                                                        Inc.(Quorum Software). He served as an international quality assurance reviewer
                                                                                        for the UK Office of Government Commerce's ITIL v3 publication. He served as a
                                                                                        board observer and advisor at Ancestry.com and Boomi, a Dell Technologies
                                                                                        Company. He is a Member of the IT Service Management Forum. He is a
                                                                                        Member of the Institute of Directors, the Institute of Service Management and
                                                                                        Chartered Member of the British Computer Society. Mr. Gillett holds nine US and
                                                                                        international patents in the fields of networking, communications and security. He
                                                                                        is a Chartered Technologist and an accredited IT Infrastructure Library Manager.
                                                                                        Mr. Gillett studied Medicine at the University of London.

     Kip                  Board Director/Trustee     Current   55 Male   NA   NA    NA Mr. Kip McClanahan serves as Director at Enveedo, Inc. He serves as Director of
     McClanahan                                                                        SpyCloud, Inc and NotCommon Corp. He is a General Partner at Silverton
                                                                                       Partners. He serves as Director at It's Skinny, Inc. He serves as Advisor of
                                                                                       Hurricane Party, Inc. Mr. McClanahan co-founded ON Networks, Inc. in 2006 and
                                                                                       serves as its Chief Executive Officer. For 20 years, he has worked in IT security,
                                                                                       networking, media communications, and software industries. He has served as
                                                                                       both Chief Executive Officer and board member to both public and private
                                                                                       companies leading all functional areas including strategy, operations, product,
                                                                                       sales and marketing, as well as mergers and acquisitions deal structuring. He
                                                                                       served as both Chief Executive Officer and board member with several public and
                                                                                       private companies. He ran 3Com's Security Division. Mr. McClanahan served as
                                                                                       Chief Executive Officer of Tippingpoint Technologies Inc. from January 5, 2004 to
                                                                                       November 2005. He served as President of Motive Communication, Inc., from
                                                                                       January 2003 to November 2003. He was at Motive, Inc., where he served as
                                                                                       President and oversaw a broad range of business operations including product
                                                                                       strategy. He co-founded BroadJump, Inc. in November 1998 and served as its
                                                                                       President and Chief Executive Officer from November 1998 to January 2003.
                                                                                       Prior to BroadJump, Mr. McClanahan was a part of management at NetSpeed
                                                                                       and held engineering and managerial roles at Motorola, Thomas-Conrad, BMC
                                                                                       Software, Cisco Systems and Dell Computer. From March 1998 to November
                                                                                       1998, he led software development for DSL Customer Premises Equipment at
                                                                                       Cisco Systems Inc. From November 1996 to March 1998, he served as Lead
                                                                                       Engineering Architect of NetSpeed Inc. He was the Chief Executive Officer and
                                                                                       Director at NetSpeed. He was a part of management at NetSpeed. His career



               Report generated 10/29/2024
Licensed to isabel.mccullough@hoganlovells.com                                                                                              © 2024, Powered by S&P Global | Page 17 of 24
                                                 Case 3:24-cv-06917-AMO       Document 42-4       Filed 10/30/24       Page 20 of 26



WPEngine, Inc. | People Summary

                                                                      BEGIN END
    NAME                 ROLE                       STATUS AGE GENDER YEAR YEAR TENURE BIOGRAPHY

                                                                                        included engineering and managerial roles at Motorola, Thomas-Conrad, BMC
                                                                                        Software, Cisco Systems, and Dell Computer. Mr. McClanahan serves as the
                                                                                        Chairman of the Board of the Board of Socialware, Inc. He serves as Director of
                                                                                        Socialware, Inc., Pingboard, Inc., and Sparefoot. He serves as a Director of ON
                                                                                        Networks, Inc. He served as a Director of iControl Networks, Inc., CopperEgg
                                                                                        Corporation, OutboundEngine, WP Engine, LLC, and uControl, Inc. He served as
                                                                                        Director of BroadJump, Inc. He has been a member of the Engineering
                                                                                        Foundation Advisory Council since 2002. He serves as a mentor for Capital
                                                                                        Factory. He served as Director of Motive Communication, Inc. and Motive Inc.
                                                                                        from January 2003 to December 2003 and Tippingpoint Technologies Inc. since
                                                                                        August 2001. Mr. McClanahan received a B.S. degree in Electrical in 1988-1991
                                                                                        and Computer Engineering from the University of Texas.

     Gregory Keith        Board Director/Trustee     Current   49 Male   NA   NA    NA Mr. Gregory Keith Mondre, also known as Greg, has been an Independent
     Mondre                                                                            Director of GoodRx Holdings, Inc. since October 2018. He has been Member of
                                                                                       Advisory Board at Creating Culinary Communities LLC. He serves as Board
                                                                                       Member at GoodRx, Inc. Mr. Mondre served as an Independent Director of
                                                                                       Expedia Group, Inc. since May 2020 until October 15, 2021. He serves as a
                                                                                       Director of Relativity ODA LLC (Also known as kCura Corporation). Mr. Mondre
                                                                                       serves as a Co-Chief Executive Officer at Silver Lake Technology Management,
                                                                                       L.L.C. since December 02, 2019. He serves as Managing Partner at the firm.
                                                                                       Prior to joining Silver Lake, Mr. Mondre was a principal at Texas Pacific Group,
                                                                                       where he predominantly focused on private equity investments in the technology
                                                                                       sector. Mr. Mondre serves as a Director at New York City Investment Fund
                                                                                       Manager, Inc. He joined Silver Lake in 1999. He served as Managing Partner and
                                                                                       Managing Director of Silver Lake Management, L.L.C. from September 2011 to
                                                                                       December 01, 2019. He has significant experience in private equity investing and
                                                                                       expertise in sectors of the technology and technology-enabled industries. He
                                                                                       served as a Principal at TPG Capital, L.P., where he focused on private equity
                                                                                       investments across a wide range of industries, with a particular focus on
                                                                                       technology. He served as an Investment Banker in the Communications, Media
                                                                                       and Entertainment group at Goldman, Sachs & Co. He serves as a Director at
                                                                                       Red Ventures, LLC. Mr. Mondre has been a Director of Fanatics, Inc. Mr. Mondre
                                                                                       has been a Director of Desert Newco Managers, LLC since May 2014. He served
                                                                                       as Director at GoDaddy Inc. since May 2014 until February 2020 and has served
                                                                                       on GoDaddy's board of directors since the 2011 private equity investment in
                                                                                       GoDaddy. He served as Director of Sabre Corporation since March 2007 until



               Report generated 10/29/2024
Licensed to isabel.mccullough@hoganlovells.com                                                                                            © 2024, Powered by S&P Global | Page 18 of 24
                                                 Case 3:24-cv-06917-AMO       Document 42-4       Filed 10/30/24         Page 21 of 26



WPEngine, Inc. | People Summary

                                                                      BEGIN END
    NAME                 ROLE                       STATUS AGE GENDER YEAR YEAR TENURE BIOGRAPHY

                                                                                         December 31, 2018. He has been an Independent Director of Motorola Solutions,
                                                                                         Inc. since August 25, 2015. He serves as a Director of WPEngine, Inc. and The
                                                                                         Partnership for New York City, Inc. He is a director of A Place for Mom, Inc. and
                                                                                         Weld North Education. He serves as the Director at YAM Special Holdings, Inc.,
                                                                                         IPC Systems Holdings Corp., Sabre Holdings Corporation and Desert Newco,
                                                                                         LLC. He has previously served as a director of Equinox Group, Expedia Group,
                                                                                         Inc., IPC Systems Holdings Corp., UGS Corporation. He is a director of portfolio
                                                                                         companies Imagine Learning. He served as a Director of Siemens Product
                                                                                         Lifecycle Management Software Inc., since May 2004 and Avaya Inc. since
                                                                                         October 26, 2007. He has also previously served as a director of Vantage Data
                                                                                         Centers, LLC. He served as a Director of UGS Capital Corporation, Avaya
                                                                                         Holdings Corp., and Network General Corporation. He holds a B.S. degree in
                                                                                         Economics from The Wharton School of the University of Pennsylvania.

     Lee E.               Board Director/Trustee     Current   41 Male   NA   NA    NA Mr. Lee E. Wittlinger serves as a Managing Director at Silver Lake Technology
     Wittlinger                                                                        Management, L.L.C. since January 2018. Mr. Wittlinger had been an Independent
                                                                                       Director of AMC Entertainment Holdings, Inc. since September 17, 2018 until
                                                                                       December 31, 2022. Mr. Wittlinger joined Silver Lake in 2007. He serves as a
                                                                                       Director on the Board of Vantage Data Centers, Oak View Group and Cast &
                                                                                       Crew Entertainment. Mr. Wittlinger serves as a member of the Board of Directors
                                                                                       of WPEngine, Inc. He had been a Non-Employee Director at GoDaddy Inc since
                                                                                       May 2014 until January 25, 2023. Previously, Mr. Wittlinger was an investment
                                                                                       banker in the Technology, Media and Telecommunications Investment Banking
                                                                                       group at Goldman, Sachs & Co., where he focused on mergers and acquisitions
                                                                                       and financings in the technology industry. He currently serves as a director on the
                                                                                       boards of Iterable, Oak View Group, ProService, Shadowbox Studios, Vantage
                                                                                       Data Centers and WP Engine. Previously, he served as a director of AMC
                                                                                       Entertainment. Mr. Wittlinger holds a B.Sc. in Economics, summa cum laude, with
                                                                                       dual concentrations in Finance and Accounting from The Wharton School of the
                                                                                       University of Pennsylvania.

     Average                                                   55                  9y,
                                                                                   7m



    Professionals




               Report generated 10/29/2024
Licensed to isabel.mccullough@hoganlovells.com                                                                                              © 2024, Powered by S&P Global | Page 19 of 24
                                                 Case 3:24-cv-06917-AMO          Document 42-4            Filed 10/30/24         Page 22 of 26



WPEngine, Inc. | People Summary

    NAME                     TITLE                         STATUS     AGE GENDER BIOGRAPHY

     Mark Kelnar              Independent Consultant       Current    NA Male        Mr. Mark Kelnar serves as an Independent Consultant at WP Engine, LLC. Mr. Kelnar has
                                                                                     been developing software as a full time employee and as an Independent Consultant in
                                                                                     Austin since 2000. He has done work for a collection of companies and projects, including
                                                                                     work on the website for Hoover s Inc and Dun and Bradstreet. His role at WP Engine is to
                                                                                     make sure the servers and your site are up and running as expected. If they are not, there s
                                                                                     a good chance that he is already working on resolving the issue.

     Average




    In the event exact dates of hire, termination, or birthday are unknown, age and tenure values may be off by +/- 1 year. Tenure refers to the length of time an individual held
    their current title.

    Contact information may be limited by privacy restrictions of the contact's home country or state/province




               Report generated 10/29/2024
Licensed to isabel.mccullough@hoganlovells.com                                                                                                      © 2024, Powered by S&P Global | Page 20 of 24
                         Case 3:24-cv-06917-AMO                     Document 42-4           Filed 10/30/24        Page 23 of 26

WPEngine, Inc. | Private Ownership
  (MI KEY: 5225379; SPCIQ KEY: 139087350)


  Search Investor(s):


   Investors
                                                                                                                    MOST
                                                                                                                  RECENT     MOST MOST       AGGREGATE
                                                                                                  MOST RECENT INVESTMENT RECENT RECENT       INVESTMENT
                                                 RELATIONSHIP                        TRANSACTION TRANSACTION       VALUE ROUND ROUND              VALUE
   INVESTOR NAME                                 TYPE               COMPANY TYPE          DATE(S)   SIZE ($000)     ($000) NUMBER TYPE             ($000)

    Automattic Inc.                              Current Investment Private Company 11/15/2011         1,200           -        1 Series A               -

    Capital Factory                              Current Investment Private Company -                      -           -         - -                     -

    Guidepost Growth Equity                      Current Investment Private Company 3/25/2015,        23,000     23,000         4 Series C         38,000
                                                                                    1/14/2014

    North Bridge Growth Equity II, L.P.          Current Investment Private Fund     3/25/2015,       23,000           -        4 Series C               -
                                                                                     1/14/2014

    North Bridge Venture Partners                Current Investment Private Company 3/25/2015,        23,000           -        4 Series C               -
                                                                                    1/14/2014

    Silver Lake Technology Management, L.L.C. Current Investment Private Company 1/4/2018            250,000    250,000         5 Mature         250,000

    Silverton Partners                           Prior Investment    Private Company 9/20/2012,        1,674           -        2 Series B               -
                                                                                     11/15/2011




                Report generated 10/29/2024
Licensed to isabel.mccullough@hoganlovells.com                                                                 © 2024, Powered by S&P Global | Page 21 of 24
                      Case 3:24-cv-06917-AMO                  Document 42-4       Filed 10/30/24      Page 24 of 26

WPEngine, Inc. | Capitalization Table Summary

    (MI Key: 5225379; SPCIQ Key: 139087350)

     Financing Scenario Analysis                                                        Input Exit Value                                  0
     ROUND TYPE                         PRE-MONEY OWNERSHIP    POST-MONEY OWNERSHIP   VALUE OF OWNERSHIP                   EXIT VALUE ($)
                                                        (%)                     (%)             STAKE ($)

      Series A                                            -                       -                       -                               -

      Series B                                            -                       -                       -                               -

      Series B                                            -                       -                       -                               -

      Series C                                            -                       -                       -                               -

      Mature                                              -                       -                       -                               -

      Mature                                              -                       -                       -                               -

      New Investor Round                                  -                       -                       -                               -

      Total                                               -                       -                       -                               -


     Historical Rounds of Funding

     Mature
     JUL-10-2019                        PRE-MONEY OWNERSHIP    POST-MONEY OWNERSHIP   VALUE OF OWNERSHIP                   EXIT VALUE ($)
                                                        (%)                     (%)             STAKE ($)

      Series A                                            -                       -                       -                               -

      Series B                                            -                       -                       -                               -

      Series B                                            -                       -                       -                               -

      Series C                                            -                       -                       -                               -

      Mature                                              -                       -                       -                               -

      Mature                                              -                       -                       -                               -

      Total                                               -                       -                       -                               -


     Mature
     JAN-04-2018                        PRE-MONEY OWNERSHIP    POST-MONEY OWNERSHIP   VALUE OF OWNERSHIP                   EXIT VALUE ($)
                                                        (%)                     (%)             STAKE ($)

      Series A                                            -                       -                       -                               -

      Series B                                            -                       -                       -                               -

      Series B                                            -                       -                       -                               -

      Series C                                            -                       -                       -                               -

      Mature                                              -                       -                       -                               -

      Total                                               -                       -                       -                               -


     Series C
     MAR-25-2015                        PRE-MONEY OWNERSHIP    POST-MONEY OWNERSHIP   VALUE OF OWNERSHIP                   EXIT VALUE ($)
                                                        (%)                     (%)             STAKE ($)

      Series A                                            -                       -                       -                               -

      Series B                                            -                       -                       -                               -



                Report generated 10/29/2024
Licensed to isabel.mccullough@hoganlovells.com                                                     © 2024, Powered by S&P Global | Page 22 of 24
                      Case 3:24-cv-06917-AMO                  Document 42-4       Filed 10/30/24         Page 25 of 26

WPEngine, Inc. | Capitalization Table Summary
      Series B                                            -                       -                          -                               -

      Series C                                            -                       -                          -                               -

      Total                                               -                       -                          -                               -


     Series B
     JAN-14-2014                        PRE-MONEY OWNERSHIP    POST-MONEY OWNERSHIP      VALUE OF OWNERSHIP                   EXIT VALUE ($)
                                                        (%)                     (%)                STAKE ($)

      Series A                                            -                       -                          -                               -

      Series B                                            -                       -                          -                               -

      Series B                                            -                       -                          -                               -

      Total                                               -                       -                          -                               -


     Series B
     SEP-20-2012                        PRE-MONEY OWNERSHIP    POST-MONEY OWNERSHIP      VALUE OF OWNERSHIP                   EXIT VALUE ($)
                                                        (%)                     (%)                STAKE ($)

      Series A                                            -                       -                          -                               -

      Series B                                            -                       -                          -                               -

      Total                                               -                       -                          -                               -


     Series A
     NOV-15-2011                        PRE-MONEY OWNERSHIP    POST-MONEY OWNERSHIP      VALUE OF OWNERSHIP                   EXIT VALUE ($)
                                                        (%)                     (%)                STAKE ($)

      Series A                                            -                       -                          -                               -

      Total                                               -                       -                          -                               -




    Assumptions
    We assume that all of the Debt and Post-Money Options come out of the Pre-Money.
    We assume that all of the Pre-Money Options have been allocated.
    Individual Investors may participate in succeeding rounds, reducing dilution.
    Total Authorized Share count is estimated based on available data.
    Pre-Money is based on prior round post-money valuation, i.e. it does not include the Debt and Post-Money Options.
    Exit Value assumes there is no liquidation preference and no additional dilution before an exit.
    Share Value and Value of Ownership Stake assumes that the Common Stock's fair market value is equal to the most recent issue price.
    Debt rounds are not included.




                Report generated 10/29/2024
Licensed to isabel.mccullough@hoganlovells.com                                                        © 2024, Powered by S&P Global | Page 23 of 24
                                                             Case 3:24-cv-06917-AMO                                   Document 42-4              Filed 10/30/24              Page 26 of 26



WPEngine, Inc. | Capitalization Table Details
  (MI KEY: 5225379; SPCIQ KEY: 139087350)



                      AUTHORIZED                                 OUTSTANDING                      INVESTOR
                       PREFERRED                          PAR        COMMON PRE-MONEY POST-MONEY     LEVEL OPTION LIQUIDATION                                       PARTICIPATING ANTI                                           PAY   PAY TO
   ANNOUNCEMENT ROUND     SHARES FUNDING                VALUE         SHARES VALUATION VALUATION OWNERSHIP POOL PREFERENCE ROUND          LIQUIDATION CAPPED          PREFERRED DILUTION              CUMULATIVE                 TO    PLAY
   DATE         TYPE     (ACTUAL) TYPE                     ($)       (ACTUAL)      ($M)      ($M)       (%)    (%) MULTIPLE (X) DIRECTION PREFERENCE PARTICIPATION?        CAP (X) METHOD REDEMPTION? DIVIDENDS? REORGANIZATION? PLAY? PENALTIES

   7/10/2019         Mature           NA Common           NA             NA         NA           NA           NA      NA            NA NA   NA        NA                     NA NA       NA           NA         NA              NA    NA
                                         Equity

   1/4/2018          Mature           NA Unclassified     NA             NA         NA           NA           NA      NA            NA NA   NA        NA                     NA NA       NA           NA         NA              NA    NA

   3/25/2015         Series           NA Unclassified     NA             NA         NA           143          NA      NA            NA NA   NA        NA                     NA NA       NA           NA         NA              NA    NA
                     C

   1/14/2014         Series           NA Unclassified     NA             NA         NA           NA           NA      NA            NA NA   NA        NA                     NA NA       NA           NA         NA              NA    NA
                     B

   9/20/2012         Series           NA NA               NA             NA         NA           NA           NA      NA            NA NA   NA        NA                     NA NA       NA           NA         NA              NA    NA
                     B

   11/15/2011        Series           NA Unclassified     NA             NA         NA           NA           NA      NA            NA NA   NA        NA                     NA NA       NA           NA         NA              NA    NA
                     A


   Assumptions
   We assume that all of the Debt and Post-Money Options come out of the Pre-Money.
   We assume that all of the Pre-Money Options have been allocated.
   Individual Investors may participate in succeeding rounds, reducing dilution.
   Total Authorized Share count is estimated based on available data.
   Pre-Money is based on prior round post-money valuation, i.e. it does not include the Debt and Post-Money Options.
   Exit Value assumes there is no liquidation preference and no additional dilution before an exit.
   Share Value and Value of Ownership Stake assumes that the Common Stock's fair market value is equal to the most recent issue price.
   Debt rounds are not included.




                   Report generated 10/29/2024
Licensed to isabel.mccullough@hoganlovells.com                                                                                                                                                        © 2024, Powered by S&P Global | Page 24 of 24
